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        EXHIBIT
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From: Tim Sweeney <tim.sweeney@epicgames.com>
Date: August 13, 2020 at 2:08:53 AM PDT
To: Tim Cook <tcook@apple.com>, Phil Schiller <schiller@apple.com>, Craig
Federighi <federighi@apple.com>, Matt Fischer <matt.fischer@apple.com>,
Douglas <vetter@apple.com>
Subject: Fortnite payments


Dear Tim, Phil, Craig, Matt, Douglas,

I’m writing to tell you that Epic will no longer adhere to Apple’s payment
processing restrictions.

Today, Epic is launching Epic direct payments in Fortnite on iOS, offering
customers the choice of paying in-app through Epic direct payments or through
Apple payments, and passing on the savings of Epic direct payments to customers
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in the form of lower prices.

We choose to follow this path in the firm belief that history and law are on our
side. Smartphones are essential computing devices that people use to live their
lives and conduct their business. Apple's position that its manufacture of a device
gives it free rein to control, restrict, and tax commerce by consumers and creative
expression by developers is repugnant to the principles of a free society.

Ending these restrictions will benefit consumers in the form of lower prices,
increased product selection, and business model innovation.

Henceforth, all versions of Fortnite that Epic submits to the App Store will
contain these two payment options, side by side, for customers to choose among.

We hope that Apple will reflect on its platform restrictions and begin to make
historic changes that bring to the world’s billion iOS consumers the rights and
freedoms enjoyed on the world's leading open computing platforms including
Windows and macOS. In support of this path, Epic’s public explanation of our
payment service will be neutral and factual to provide Apple with a chance to
consider taking a supportive route and communicating it in a way of Apple’s
choosing.

If Apple chooses instead to take punitive action by blocking consumer access to
Fortnite or forthcoming updates, then Epic will, regrettably, be in conflict with
Apple on a multitude of fronts - creative, technical, business, and legal - for so
long as it takes to bring about change, if necessary for many years.

Tim Sweeney
Epic Games




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